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   IT IS ORDERED as set forth below:



   Date: May 31, 2023
                                                 _________________________________

                                                            Sage M. Sigler
                                                     U.S. Bankruptcy Court Judge

  ________________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:                                   )    CHAPTER 11
                                          )
 CWI CHEROKEE LF LLC                      )    CASE NUMBER 23-52262-SMS
                                          )
      Debtor.                             )
                                          )


 ORDER ON DEBTOR’S MOTION TO SELL ASSETS FREE AND CLEAR
     OF LIENS, CLAIMS, AND ENCUMBRANCES, DIRECTING
 BIDDING PROCEDURES, AND SETTING PRELIMINARY AND FINAL
                         HEARINGS
      On May 9, 2022, Debtor filed its “Amended Motion to Sell Assets Free and

Clear of Liens, Claims, and Encumbrances and for (A) an Order and Notice (i)

Directing Bidding Procedures Subject to Objection, (ii) Setting Preliminary Hearing

in Event of Objection to Bidding Procedures, and (iii) Setting Final Sale Hearing;
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and (B) an Order at Final Sale Hearing Approving Sale Free and Clear” (the

“Motion”) [Doc. No. 94]. Pursuant to an Order and Notice on Debtor’s Motion to

Sell Assets Free and Clear of Liens, Claims, and Encumbrances, Directing Bidding

Procedures, and Setting Preliminary and Final Hearings [Doc. 95], any objections

to the Motion were required to be filed on or before May 29, 2023, or the bidding

procedures proposed in the Motion would stand approved. Komatsu Financial

Limited Partnership (“Komatsu”) and the Solid Waste Disposal Authority of Muscle

Shoals, Sheffield, and Tuscumbia, Alabama (“SWDA”) each filed limited objections

[Docs. 105 and 106.] A hearing was held on May 31, 2023. Based upon the Motion,

the presentations of counsel at the hearing, and the entire record of this case, good

cause exists to grant the Motion as modified herein.

      The property being sold is all of Debtor’s rights and interests in and to a

property known as the Cherokee Industrial Landfill in Cherokee, Alabama (the

“Landfill”) and a transfer station in Muscle Shoals, Alabama (the “Muscle Shoals

Transfer Station”; collectively with the Landfill, the “Real Property”) pursuant to

that Lease Agreement between Solid Waste Disposal Authority of the Cities of

Muscle Shoals, Sheffield, and Tuscumbia, Alabama and CWI Cherokee LF LLC,

dated June 23, 2020; all of Debtor’s rights and interests pursuant to that certain

Ground Sublease and Lease of Improvements dated June 23, 2020 between CWI

Transfer HSV, LLC and CWI Cherokee LF LLC (the “Huntsville Transfer Station”);
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all tangible personal property of Debtor, and rights, records, and permits with respect

to Debtor’s operation of the Real Property and the Huntsville Transfer Station,

including the Disposal Agreement with the SWDA dated June 23, 2020

(collectively, and as more specifically defined in the Motion, the “Subject Assets”).

      The proposed sale is subject to approval by this Court. Debtor has proposed

bidding procedures to ensure the highest and best price for the sale of the Subject

Assets, as follows:

      a.     Debtor and B. Riley shall continue to market and solicit offers to

             purchase the Subject Assets on reasonable and customary terms, subject

             to the Bidding Procedures. Debtor and B. Riley, in consultation with

             the UMB Bank, N.A. (the “Bond Trustee”) shall provide to prospective

             purchasers such information as they reasonably believe necessary to

             adequately market and sell the Subject Assets, and may require that

             interested parties execute a non-disclosure agreement prior to accessing

             non-public information of the Debtor.

      b.     Debtor has requested Initial Indications of Interest (the “IOI”) from

             prospective purchasers to be delivered on or before May 25, 2023,

             copies of which the Debtor shall provide to the Bond Trustee as soon

             as reasonably practical after such IOIs have been received by the

             Debtor; provided, however, that the Bond Trustee shall not disclose the
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            contents of any such IOIs to any other creditor, prospective bidder,

            party, or non-party except that the Bond Trustee may disclose the IOIs

            to the bondholders provided such bondholders shall not disclose the

            IOIs to any other creditor, prospective bidder, party, or non-party and

            agree in advance to be bound by this order.

      c.    Debtor will receive stalking horse bids (each, a “Stalking Horse Bid”

            and such bidder a “Stalking Horse Bidder”) through June 29, 2023.

            Any person who is or may be interested in submitting a Stalking Horse

            Bid, as defined in the Motion, should contact Debtor’s Investment

            Banker, at:

            Perry Mandarino
            B. Riley Securities, Inc.
            pmandarino@brileyfin.com
            (646) 367-2402

            Debtor shall provide copies of such received Stalking Horse Bids as

            soon as reasonably practical to the Bond Trustee; provided, however,

            that the Bond Trustee shall not disclose the contents of any such bids to

            any other creditor, prospective bidder, party, or non-party, except that

            the Bond Trustee may disclose the Stalking Horse bids to the

            bondholders provided such bondholders shall not disclose the Stalking



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            Horse Bids to any other creditor, prospective bidder, party, or non-party

            and agree in advance to be bound by this order;

      d.    On or before July 11, 2023, Debtor, subject to the consent of the Bond

            Trustee, will select a bid to serve as the Designated Stalking Horse Bid.

            The Designated Stalking Horse Bidder shall be entitled to a Break-Up

            Fee in an amount that is 2.5% of the total purchase price provided in

            the Stalking Horse Bid. Debtor will file notice of the Designated

            Stalking Horse Bid with the Court.

      e.    Between July 11, 2023, and July 28, 2023 (the “Bid Deadline”), Debtor

            will receive bids from potential purchasers. To be considered a

            qualified bid (a “Qualified Bid”), the bid must include:

            i.      The same or better terms than those set forth in the Designated

                    Stalking Horse Bid and provide a markup of the asset purchase

                    agreement utilized by the Stalking Horse Bidder;

            ii.     An acceptable form marked against the Designated Stalking

                    Horse Bid purchase agreement, not subject to any contingencies,

                    including but not limited to any inspection, title, financing,

                    zoning, or other conditions precedent to the bidder’s obligations

                    to purchase the Subject Assets;


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            iii.    A purchase price of not less than the Designated Stalking Horse

                    Bid, plus the Break-Up Fee, plus an overbid of $100,000.00;

            iv.     An earnest money deposit in an amount not less than ten (10)

                    percent of the purchase price (“Earnest Money”);

            v.      A closing date of August 14, 2023;

            vi.     Any information reasonably requested by Debtor, in consultation

                    with the Bond Trustee, to ensure to Debtor’s reasonable

                    satisfaction that such bidder is financially capable of

                    consummating the transaction;

      f.    Any Qualified Bid must be delivered, such that it is actually received

            on or before the Bid Deadline, to the following parties, provided

            however that the Bond Trustee may share the Qualified Bids with the

            bondholders provided that such bondholders have agreed to maintain

            confidentiality:

            John A. Christy, Esq.
            Schreeder, Wheeler & Flint, LLP
            1100 Peachtree Street, N.E.
            Suite 800
            Atlanta, Georgia 30309-4516
            Telephone: (404) 681-3450
            jchristy@swfllp.com
            with a copy to

            Perry Mandarino
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            B. Riley Securities, Inc.
            pmandarino@brileyfin.com
            and

            Randall Brater
            ArentFox Schiff LLP
            1717 K Street NW
            Washington, D.C. 20006
            randall.brater@afslaw.com

      g.    A Qualified Bid is firm and binding upon each Potential Bidder at the

            time that such bid is submitted to Debtor’s counsel.

      h.    Credit Bid: The Bond Trustee has an absolute right to credit bid an

            amount up to the total amount of its claim, as set forth in the Motion

            and paragraph E(b) of the Agreed Order Authorizing Use of Cash

            Collateral and Granting Adequate Protection and Related Relief to

            Prepetition Secured Party [Doc. 87] (the “Cash Collateral Order”), and

            unless a Designated Stalking Horse bid, in an amount not less than as

            described in paragraph (e)(iii) above (a “Credit Bid”). A Credit Bid

            shall constitute a Qualified Bid, without the need to place a deposit.

            Upon exercise of a Credit Bid, the Bond Trustee shall have the right to

            designate any person or entity to take title to the Subject Assets that are

            subject to the credit bid, and provided that such designee takes title, the

            Bond Trustee shall not have any obligation in connection with or be


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            deemed to have taken title to or ownership of, or have any obligation in

            connection with the Subject Assets. The Bond Trustee will not be a

            Backup Bidder unless the Bond Trustee consents in writing. The Bond

            Trustee’s Credit Bid may also serve as the Stalking Horse Bid, provided

            that it is determined to be the highest and best bid to be selected as the

            Stalking Horse Bid. For avoidance of doubt, if the Bond Trustee serves

            as the Stalking Horse Bidder, the Bond Trustee is entitled to the Break-

            Up Fee contemplated above.

      i.    If Debtor receives two or more Qualified Bids, Debtor will conduct an

            auction with respect to the sale of the Subject Assets on August 7, 2023,

            at 10:00 a.m. local Atlanta time, at the offices of Schreeder, Wheeler &

            Flint, LLP, 1100 Peachtree Street NE, Suite 800, Atlanta, Georgia

            30309, or such other time and location as may be designated by the

            Debtor upon reasonable notice to Qualified Bidders (the “Auction”).

            Only persons who submitted a Qualified Bid (each a “Qualified

            Bidder”) shall be allowed to participate in the Auction. Bidding shall

            begin initially with the highest and best Qualified Bid received, and

            subsequently continue in minimum increments of $100,000. The

            Debtor will conduct the Auction in the manner it determines , in

            consultation with the Bond Trustee, will result in the highest, best, or
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            otherwise financially most superior offer for the Subject Assets;

            provided that, if the Bond Trustee informs Debtor of its intent to Credit

            Bid, Debtor will have no further obligation to consult with the Bond

            Trustee on the manner of conducting the Auction. The Auction shall be

            conducted openly and shall be transcribed. The required minimum

            amount of incremental bids may be adjusted by Debtor, in consultation

            with the Bond Trustee, during the Auction, subject only to a

            requirement of good faith. The bidding will not conclude until each

            participating bidder has had the opportunity to submit any additional

            Qualified Bid(s) with full knowledge of the existing highest bid. If

            Debtor’s counsel receives only one Qualified Bid on or before the Bid

            Deadline, Debtor’s counsel will report this fact to the Bankruptcy Court

            at the Final Sale Hearing and proceed, subject to the consent of the

            Bond Trustee, with the sale of the Subject Assets to such bidder.

      j.    The Debtor, subject to the consent of the Bond Trustee which consent

            shall not be unreasonably withheld, reserves the right to determine, in

            its reasonable discretion, the value of any Qualified Bid and to

            determine which Qualified Bid constitutes the highest, best, or

            otherwise financially most superior offer for the Subject Assets;


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            provided, however, that such determination shall be subject to review

            and approval of the Bankruptcy Court.

      k.    At the conclusion of the bidding, Debtor will announce its

            determination, subject to the consent of the Bond Trustee which consent

            shall not be unreasonably withheld, as to the bidder (the “Successful

            Bidder”) submitting the highest and best bid for the Subject Assets (the

            “Successful Bid”). The sale order designating the Successful Bid, shall

            be in a form acceptable to the Bond Trustee and submitted to the

            Bankruptcy Court for its consideration for approval at the Sale Hearing.

      l.    Debtor may identify, in its discretion and subject to the consent of the

            Bond Trustee which consent shall not be unreasonably withheld, the

            bid or bids which constitute the next highest or best offer for the Subject

            Assets (the “Backup Bid”, and such person submitting such Backup

            Bid, the “Backup Bidder”).

      m.    By submitting a bid, each Qualified Bidder shall be deemed to

            acknowledge that it has had an opportunity to inspect the Subject Assets

            and any pertinent documents prior to bidding and that such Qualified

            Bidder relied solely on that review and upon its own investigation and

            inspection regarding the Subject Assets in making its offers.

      n.    The Earnest Money(s) shall be distributed, as follows:
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            (1)     Upon Closing of the transaction for which the Earnest Money

                    was made, to Debtor, with all other Earnest Money deposits

                    returned to the respective unsuccessful bidders;

            (2)     Upon any breach by a Qualified Bidder prior to Closing, to

                    Debtor;

            (3)     Upon or within ten (10) days after entry of a final order by the

                    Bankruptcy Court disapproving the transaction for which the

                    Earnest Money was made: refunded to the Successful Bidder;

            (4)     Upon or within ten (10) days after written notification to the

                    Successful Bidder by Debtor of Debtor’s inability to close the

                    transaction, then refunded to the Successful Bidder; or

            (5)     If, due to the Successful Bidder’s failure to consummate the sale

                    of the Subject Assets, Closing does not occur within (i) the time

                    period set forth in the Agreement with respect to the Successful

                    Bid, (ii) an additional time period acceptable to Debtor in

                    writing, or (iii) an additional time period authorized by the

                    Bankruptcy Court: to Debtor;

            (6)     Earnest Money released to the Debtor in accordance with this

                    Paragraph shall become property of the Bankruptcy Estate,

                    subject to the rights of creditors and parties in interest, including
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                    the Bond Trustee’s liens and claims granted under the Cash

                    Collateral Order.

            Debtor’s counsel shall hold any Earnest Money received in accordance

            with these Bidding Procedures in an escrow account. Each Qualified

            Bidder acknowledges that Debtor’s counsel shall act in accordance with

            these Bidding Procedures without further instructions. Debtor and

            Debtor’s counsel shall have no duties or obligations with respect to the

            Bidding Procedures except those expressly set forth herein and in the

            applicable Agreement.

                    Debtor’ counsel shall not be required to invest the Earnest Money

            in an interest earning account or to segregate each deposit, but may, in

            its sole discretion, do so. In the event of a dispute between a Successful

            Bidder and Debtor or Debtor’s counsel, Debtor’s counsel shall have the

            right to retain the Earnest Money in escrow, and Debtor, Debtor’s

            counsel, or the party making the Earnest Money may apply to the

            Bankruptcy Court for a determination of the rights and obligations of

            Debtor, Debtor’s counsel, and the party making the Earnest Money. The

            fact that Debtor’s counsel serves as holder of the Earnest Money shall

            not disqualify it from representing the Debtor in any dispute over the

            disposition of the Earnest Money.
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      o.    Debtor will not be deemed to have accepted any bid, including the

            Successful Bid, until the Bankruptcy Court has entered an Order

            approving the Successful Bid and Debtor’s consummation of the sale

            in a form acceptable to the Bond Trustee. In the event Closing does not

            take place as provided below, Debtor reserves the right to accept,

            subject to the consent of the Bond Trustee which consent shall not be

            unreasonably withheld, the next highest and best Qualified Bid.

      p.    If the Successful Bidder fails to close in accordance with the terms of

            the Successful Bid and the Order approving the sale, the Earnest Money

            of such Successful Bidder will be retained by Debtor as liquidated

            damages, and not a penalty, it being agreed by participation in the bid

            process that actual damages are impossible to determine, and such

            Earnest Money shall become property of the Bankruptcy Estate, subject

            to the rights of creditors and parties in interest, including the claims and

            liens of the Bond Trustee under the Cash Collateral Order. In such

            event, the Subject Assets will be sold to the Qualified Bidder submitting

            the next highest bid which is able to close in accordance with the terms

            of the Agreement, as the case may be.

      q.    If Debtor does not consummate a sale of the Subject Assets for any

            reason (other than the Successful Bidder’s failure to consummate a sale
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            in accordance with the Agreement, as the case may be, and the Order

            approving the sale), Debtor’s sole obligation shall be to refund the

            Earnest Money (if one was made by the Successful Bidder) to the

            Successful Bidder.

      r.    Closing of the sale of the Subject Assets (the “Closing”) shall take place

            in accordance with the closing date set forth in the Successful Bid, but

            in any event not later than August 14, 2023, unless extended by the

            Debtor, subject to the consent of the Bond Trustee. With respect to

            Closing, time is of the essence.

      s.    The balance of the purchase price shall be paid by the Successful Bidder

            to Debtor, by wire transferred, certified funds or other good funds at

            Closing in a form acceptable to Debtor.

      t.    All adjustments to be made in connection with Closing, if any, shall be

            made as provided in the Successful Bid.

      u.    In the event of any conflict in the terms and conditions set forth herein

            and in any agreement for purchase of the Subject Assets approved by

            the Bankruptcy Court (“Approved Purchase Agreement”), the court’s

            Order shall govern.

      v.    The Final Sale Order may provide that all liens, claims, encumbrances,

            and interests in, to, or under the Subject Assets are removed from the
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             Subject Assets and transferred and attached to the proceeds of the sale

             of the Subject Assets in the same priority and to the same extent and

             validity as such liens, claims, encumbrances, and interests attached to

             the Subject Assets.

      w.     Debtor may, in its discretion and subject to the consent of the Bond

             Trustee, waive compliance with any deadline or extend any deadline in

             these bid procedures; provided, however, that reasonable notice of any

             rescheduled auction shall be provided to all Qualified Bidders in

             accordance with subpart (d) above.



      Based upon the foregoing findings of fact and conclusions of law, it is hereby

ORDERED that the Bidding Procedures are APPROVED as modified herein.

      IT IS FURTHER ORDERED and NOTICE IS HEREBY GIVEN that a

Final Hearing related to the proposed sale of the Subject Assets, as described in the

Bidding Procedures, shall be held in Courtroom 1201, United States Courthouse, 75

Ted Turner Drive SW, Atlanta, Georgia 30303, on the 14th day of August, 2023,

at 11:00 A.M. (the “Final Sale Hearing”). Participants may appear remotely via

the Court’s Virtual Hearing Room, available from the Court’s webpage:

https://www.ganb.uscourts.gov/content/honorable-sage-m-sigler. Please review the

“Hearing Information” tab on the judge’s webpage, which can be found under the
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“Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage

for this Court, www.ganb.uscourts.gov for more information.

      IT IS FURTHER ORDERED and NOTICE IS HEREBY GIVEN that any

party to an executory contract or lease with the Debtor shall provide notice to Debtor,

on or before July 11, 2023, detailing any objections to the proposed assumption and

assignment of the relevant executory contract or lease including the dollar amount

of any monetary default or compensation which said party contends is owed and a

detailed explanation of any nonmonetary defaults said party contends must be cured

in connection with the assumption of such executory contract. At the Final Sale

Hearing, to the extent a dispute exists regarding any cure amounts as to Assigned

Contracts, the Court may set a Cure Holdback Amount sufficient to provide adequate

assurance within the meaning of 11 U.S.C. § 365(b)(1)(A) and (B).

      IT IS FURTHER ORDERED and NOTICE IS HEREBY GIVEN that all

parties’ rights and objections to a sale proposed by the Debtor for approval pursuant

to this Order are reserved. Any party with any objections to the proposed sale of the

Subject Assets on the terms set forth herein shall file a written objection with the

Court, on or before August 9, 2023 at 5:00 p.m. EDT.

      IT IS FURTHER ORDERED, whereas Komatsu Financial Limited

Partnership (“Komatsu”) asserts a lien over certain Financed Equipment (the

“Financed Equipment”) defined as follows: (i) One (1) Komatsu PC490LC-10
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Hydraulic Excavator (Serial No. A40251); (ii) One (1) Komatsu D61PX-23 Crawler

Dozer (Serial No. 31458); (iii) One (1) Komatsu D85PX-18 Crawler Dozer (Serial

No. 23107); (iv) One (1) Komatsu HM400-5 Articulated Truck (Serial No. 10282);

(v) One (1) Komatsu WA270-8 Wheel Loader (Serial No. A29061); and (vi) One

(1) Komatsu D61PXI-24 Crawler Dozer (Serial No. B60660). The Financed

Equipment is owned by CWI Alabama, LLC, and the Financed Equipment currently

is in the possession of the Debtor. As of March 7, 2023, $626,634.60 was due and

owing to Komatsu, exclusive of interest, attorneys’ fees and costs after March 7,

2023. Komatsu shall have the right to credit bid for the Financed Equipment up to

the full amount due and owing to Komatsu, and, in the event Komatsu is the

successful bidder by way of credit bid, Komatsu shall not be responsible for any

costs, surcharge or premium related to the inclusion of its equipment in the

auction. All of Komatsu rights in connection with the sale of the Debtor’s assets are

reserved, including the right to object to the sale of the Financed Equipment.

      IT IS FURTHER ORDERED that Debtor’s counsel shall serve a copy of

this Order and Notice upon all creditors and parties in interest within three business

days of its entry, and shall file a certificate of such service within three days

thereafter.

                             [END OF DOCUMENT]


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Prepared and Presented by:

/s/ Jonathan A. Akins
JOHN A. CHRISTY
Georgia Bar No. 125518
jchristy@swfllp.com
JONATHAN A. AKINS
Georgia Bar No. 472453
jakins@swfllp.com

Schreeder, Wheeler & Flint, LLP
1100 Peachtree Street, N.E.
Suite 800
Atlanta, Georgia 30309-4516
Telephone: (404) 681-3450




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DISTRIBUTION LIST:

John A. Christy
Schreeder, Wheeler & Flint, LLP
1100 Peachtree Street, N.E.
Suite 800
Atlanta, Georgia 30309-4516
Telephone: (404) 681-3450




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